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  AO 93 (Rev. 11/13) Search and Seizure Warrant



                                             UNITED STATES DISTRICT COURT
                                                                               for the
                                                                 Western District of Arkansas
                                                                    Fort Smith Division
                    In the Matter of the Search of                            )
               (Briefly describe the property to be searched                 )
                or identify the person by name and address)                  )      Case No.                   2:23-cm-00025
                        USPS Priority Mail Parcel                                )
                      9505 5158 7197 3144 3497 74                                )
                                                                                 )

                                                   SEARCH AND SEIZURE WARRANT
 To:       Any authorired law enforcement officer
          An application by a federal law enforcement officer or an attorney for the government requests the search
 of the following person or property located in the           Western            District of               Arkansas
 (identify the person or describe the property to be searched and give its location):

       USPS Priority Mail Parcel 9505 5158 7197 3144 3497 74, addressed to Charley Poole at 1216 E. Short Mountain Road,
       Apt. 6, in Paris, Arkansas




          I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
 described above, and that such search will reveal (identify the person or describe the property to be seized):
     Evidence of, contraband.and/or property used in distributing illegal narcotics and/or proceeds of illegal narcotics trafficking ,
     in violation ofTitle 21, United States Code, Section 841 (a)(1); 21, United States Code, Section 846




         YOU ARE COMMANDED to execute this warrant on or before                    June 15, 2023         (not to exceed I./ days)
       ~ in the daytime 6:00 a.m. to I 0:00 p.m. 0 at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                        Hon . Mark E.'-F
                                                                                                           ' -o"-'r-d'-_ _ _
                                                                                                         (United States Magistrate Judge)

       0 Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who. or whose
property, will be searched or seized (check the appropriate box)
    0 for          days (not to exceed 30) □ until, the facts justifying, th e               itr   spec~fic date of


                              ~ h/t ~ 4--: M f- "'·                                     ,(/Ut/4 [ ·~
                                                                                         1

Date and time issued,
                                                                                                                 Judge 's signature

City and state:            Fort Smith, Arkansas                                                       Mark E. Ford, US Magistrate Judge _ _ _ _
                                                                                                              Printed name and title
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                                                                 Return
Case No. :                      Date and time warrant executed:                 Copy of~ant and inventory left with:
    2:23CM 25                    "- I z_o "Z.~                                  ?Ar;, -ro~ft,\,\, rer
Inventory made in the presence of:
                      -1\tt.ro\el ~ t d ,                Lo        {;,c,.
Inventory of the property taken and name of any persons) seized:

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                 -1-yf'e, ~&,4,~+~e (SILS~+td                               M#~i~J




                                                              Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
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                                                                                               Executing officer's signature
Subscrib • sworn to, Hd return to me by email Ibis ] _
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                                                                 - - - - - -L.-----'---
d~~~-                                                                                             Printed name and title

Maril E. Ford, U.S. Magistnte Judgt,
